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LOCKS LAW F|RM
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l\/larch 29, 2018

Honorable Anita B. Brody
United States District Judge
Eastern District of Pennsylvania
601 Walnut Street, Roorn 7613
Philadelphia, PA 19106

RE: In re National Football League Players ’ Concussion Injury Litigation
USDC, EDPA No. 12-md-2323-AB

Dear Judge Brody:

I am Writing in response to Chris Seeger’s letter to you today requesting that Your Honor
enter an Order setting March 30, 2018 as the deadline for the filing of any joinders to the Motion
of Class Counsel the Locks Law Firm for Appointment of Administrative Class Counsel

(ECF No. 9786).

Although I agree that there should be a deadline for the filing of such of such joinders, I
respectfully request that all parties be given until April 4, 2008 to tile joinder or other papers in
support of the Motion.

In addition, 1 respectfully request that Locks LaW Firm be given an opportunity to reply
to any response filed by Mr. Seeger.

Respectfully submitted,

LOCKS LAW FIRl\/I

BY: /s/ Gene Locks
GENE LOCKS

GL/ah

PHlLADELPHlA.PA NEW YoRK, NY CHERRY HlLL, Nj RosELAND, N; ATLANTIC ClTY, Nj

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CERTIFICATE OF SERVICE
I hereby certify that on this date a true and correct copy of the foregoing Letter/Notice
Was served on this date Via the Electronic Filing Systern on all counsel of record in Case No.

2:12-md-02323-AB, MDL No. 2323.

DATE:Mareh 30, 2018

/s/ Gene Locks

 

Gene Locks, Class Counsel

